         Case 1:21-cv-11958-NMG Document 57 Filed 06/27/23 Page 1 of 3




                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
------------------------------------- x
STAG WILLIAMSPORT, LLC,                  :
                                         :
                             Plaintiff,  : Case No. 1:21-cv-11958-NMG
               v.                        :
                                         :
                                         :
BHN ASSOCIATES, LLC, et al.,             :
                                         :
                             Defendants. :
                                         :
------------------------------------- X

   MOTION FOR LEAVE TO WITHDRAW AS ATTORNEY OF RECORD FOR
    DEFENDANT BHN ASSOCIATES, LLC, AND FOR AN ORDER STAYING
PROCEEDINGS FOR 30 DAYS FOR DEFENDANT BHN ASSOCIATES, LLC TO FIND
                       SUCCESSOR COUNSEL


       Now comes Defendant BHN Associates, LLC’s (“BHN”) counsel, William C. Nystrom

and Patrick L. Marinaro of Nystrom Beckman & Paris LLP and Joshua M. Herman and Avery S.

Mehlman of Herrick, Feinstein LLP (collectively, “BHN’s Counsel”), and files this motion

pursuant to Local Rule 83.5.2(c)(2) for leave to withdraw as counsel of record for BHN (the

“Motion”).

       As grounds for this Motion, counsel refers the Court to the accompanying Memorandum

of Law and Affidavit of Joshua M. Herman.
       Case 1:21-cv-11958-NMG Document 57 Filed 06/27/23 Page 2 of 3



Dated: June 27, 2023                     HERRICK, FEINSTEIN LLP
       New York, New York

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                                     2
          Case 1:21-cv-11958-NMG Document 57 Filed 06/27/23 Page 3 of 3




                                 L.R. 7.1(A)(2) CERTIFICATION


        I hereby certify that counsel for BHN Associates, LLC has conferred with counsel for

STAG Williamsport, LLC regarding this motion. Plaintiff STAG Williamsport, LLC has not

indicated whether Plaintiff opposes BHN’s Counsel’s withdrawal, but has indicated that it opposes a stay

of proceedings.


                                                        /s/ Joshua M. Herman________
                                                        Joshua M. Herman

                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 27, 2023, a true and correct copy of the above document was

electronically filed with the Clerk of the United States District Court for the District of

Massachusetts by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that services will be accomplished by the CM/ECF system. I

further certify that a copy of the above document was served via email and Federal Express on

an authorized representative of Defendant BHN Associates, LLC.


                                                        /s/ Joshua M. Herman________
                                                        Joshua M. Herman




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